Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 1 of 10




  AQ*1(Rw,:G ) Crffr
                   ll
                    tlxlCoMplkim

                                 U NIH D STATES D ISTRICT COURT
                                                      forthe
                                            Soutbem DistrittofFlorl&
               Unit:d5t0 :efAmvric.
                            V.
                    W ILLIAM DOR.                              CgâeNo.//-* /2 7-
                       > .fk.dyl9)

                                            CRIM IN AL CS M PIA INT
         1,* complAinu tinthi:cage,sut
                                     ,thattllefôllewing i:truetoth:begtefmyu owledg:o da lief.
  0,oraboutledatv(:)tf               :eptember18.2Q11        intheçilmtyof       Broward                      inth4
     :outhem     Digtrictof             Floœa        ,th:defend=tts)violated:
          Coded:ell/zl                                          OfenseDewrfp/ftm
  1:U.S,C.j1646ta)                       Fœudandmleux ofvlua,perme ,andothardx um.nt:.




        '
        rli.crimiM lcomphintisbasvdonêh-:facts:
  PI
   .aq4e@@theaqgchedamdaklt.



        W continuu ont:eztel- sheet.

                                                                                      *

                                                                                    Co+ aizas%ZJg- -
                                                                           -   :neclalAaentze* avMull*r.HSt        - -
                                                                                     Prtnt# ----o d##e
 Swoa loh fom nw :ndgir edinmyprevence.
                                                                C -
 D<::          11/03/2011                                      ....            aw -w .e       z . : u xp
                                                                                      Judze:zl
                                                                                             gaafl
                                                                                                 ze
 City=4st*te:               FonLaudeMal., Flœ d:     .....            -   H* .tvrapa :.Snpw.U.S.Maql:tra.l dudie
                                                                                    '- Q nas.glldlfdr
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 2 of 10




                         AFFD A VIT OF SPECIA L AG ENT
              JEFFREY M ULLER IN SUPPO RT OF CR IM INAL CO M PLAINT

               1,Jeffrey M uller,being duly sworn,depose and state asfollows:

      INTROD UCTIO N

      1.       1am a SpecialA gentw ith the U nited States Departm entofHom eland Security

      (ççDHS''),lmmigration and Customs Enforcement,Homeland Security Investigations
      (ç4HSI'')currently assignedtoKeyW est,Florida.Mydutiesandresponsibilitiesinclude
      investigating imm igration fraud and sm uggling offenses. Ihave been em ployed with HSl

      since January 2009. Priorto becom ing a SpecialAgentwith H SI,lw as employed as a

      Special Agent as a Federal A ir M arshal with DH S for approxim ately seven years.

      During that tim e,I deployed throughout the w orld on m issions protecting aircraft and

      people. Prior to that em ploym ent,1 was a police oftk er in W ashington,D .C.with the

      United StatesPark Police for approxim ately six years. As a Special Agentw ith HSI,I

      have attended both the Crim inalInvestigator Training Program and the Im m igration and

      Custom s Enforcem ent SpecialA gent Training school at the Federal Law Enforcem ent

      Training Centerin Glynco,Georgia.

             This Affidavitiswritten in supportofa crim inalcom plaintand arrestw arrantfor

      W illiam DOR. Based upon the inform ation contained in this A ffidavit, I respectfully

      subm itthatthere is probable cause to believe DOR has violated Title l8,U nited States

      Code,Section 1546(a)(fraudandmisuseofvisas,permits,andotherdocuments),
             The facts and information in this Affidavit are based upon m y personal

      knowledge,as w ellas inform ation provided to m e by other 1aw enforcement officers.

      Because thisA ffidavitis subm itted forthe lim ited purpose ofestablishing probable cause



                                                 1
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 3 of 10




       for a crim inal com plaint, 1 have not included in it evet'
                                                                 y fact I know about this

       investigation.

       4.     On August 22, 2011, HSI received inform ation 9om a reliable confidential

       informant(the$çCI'') thatW illiam DOR,acivilianemployeeoftheMonroeCountyJail
       and a Reserve D eputy,was selling and brokering im m igration docum entswithoutlaw ful

       authority. The Clstated,am ong otherthings,thatthe Clm etDOR in late 2007 and gave

       DOR $1,700 in return foran immigration documentthatwould allow the CIto obtain a

       Floridadriverlicense.

              InOctober2007,theU.S.CitizenshipandlmmigrationServices(ddCIS'')Vermont
       Service Centerprocessed an 1-360 form (Petition forAm erasian W idowter)or Special
       Immigrant)fortheC1. TheCIisnotanAmerasian orSpeciallmmigrantasclaimedin
       the petition. At a later date,DOR provided the CI an 1-797C (Notice of Action)
       indicating CIS's receipt of the 1-360 application. An 1-797C functions as a kind of

      receiptissued by CIS upon processing of certain types ofim m igration applications,and

      is often accepted as proof of law ful entry or status in the United States including by

      dliver's license issuing authorities. C1S sent the receipt to Post O ffice Box 420551,

       Sum m erland Key,Florida 33042.The receiptw as subsequently provided to the C1 by

      DOR. On April 15,2009,the CI presented the receipt to the Florida Departm ent of
      Highway Safety and M otor Vehicles as proof of law ful entry and status in the United

      States,and wasissued a Florida driver'slicense. In Septem ber2011,the CIprovided the

      receiptthatthe CIhad obtained from DOR to H SIagents.

      6.     To date,investigation has revealed thatatleast 102 im m igration applicationsand

      1-360 fonns have been subm itted to ClS on behalfofdifferentaliensappatently residing


                                                2
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 4 of 10




      in M onroe County w hich have used P.O .Box 420551,Sum m erland Key, Florida,33042

      as their address for correspondence w ith CIS. A 1ay review of a selection of the

      docum ents subm itted in connection with these applications reveals thatthe handwriting

      they contain is sim ilar. if not identical, to the handwriting contained in the 1-360

      submitted by DOR on behalfoftheCI.

             U sing the im m igration applications that CIS suspected asfraudulent, agents

      identified six other individuals residing in the Key W est area. n ese individuals were

      interview ed abouttheir relationship,if any,with DOR , and the 1-360 form applications

      subm itted in their nam es. Interviews of these individuals occunvd on Septem ber 20,

      2011and/oron October27,2011. Each wimessindependently admitted thathe/she had

      used DO R to subm it fraudulent im m igration docum ents on his/her behalf. Generally,

      each witness was either approached by DOR or referred to DOR by other individuals.

      Each witness paid DOR behveen approximately $1,000 to $2,000, cash, per 1-360
      subm ission and further stated that DOR was in 1aw enforcem ent. Each w itness was

      shown a six person photographic line up from which he or she selected DOR as the

      individual who provided im m igration benelks in exchange for m oney. None of the

      individuals discussed herein arc Am erasian,a victim of dom estic abuse, or othem ise

      entitled to the relief available to qualified applicants using form 1-360. N one of these

      personsever received correspondence from CIS regarding the applicationsthathad been

      filed on theirbehalf.

      8.     Ihave compared the handw riting and signam res on the I-360s forthew itnesses

      discussed above, the C1 and for m any of the other I-360's processed by C1S against

      DOR 'sM CSO personnelfile,and they appearto be the same.
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 5 of 10




      9.      The seven w itnesses discussed above on w hose behalfCIS received applications

      on form 1-360 used as theirreturn address P.O .Box 420551,Sum m erland K ey,Florida,

      33042. n e P.O .Box wasrented in thenam e ofanotherindividual,who,like DOR,isof

      Haitian descent. Although this individual's exactrelationship to DOR is unknown,the

      search ofDO R'scom puter and/orthum b drive discussed in paragraph 12 below revealed

      scanned CIS correspondencethatw asm ailed to the P.O.Box registered in Pierre'snam e.

      Each of the applicants discussed in thisparagraph has stated thatDOR agretd to obtain

      documentsonhisorherbehalfforusein obtaining adriver'slicense.

       10.   ln August2011,M CSO and HS1 conducted a series of controlled and audio-

      recorded m eetings between the CI and DOR. During these m eetings,DOR expressed
      thathew anted the CIto return the original1-797C receiptthathe had provided to the CI,

      and thathewould then refund the CIthe $1,700 DOR had charged forhisservices. In
      September,2011,atthe requestofH Slagents,CIS produced a copy ofthe 1-797C thatit

      had sentto D OR with respectto the Cl'sapplication. On Septem ber30,2011, DOR m et

      with the C1and exchanged $100 forthis I-797C. DOR promised to pay the CI$100
      every tm een daysuntilthe $1,700 waspaid back. Additionally,atthism eeting,DOR
      stated to the C1that,ifany ofhisfriendsneeded a new driver'slicense,the Clshould let

      him know. DOR stated that,for$200,he would nm a check on each such person to
      determ ine hisorhereligibility fora driver's license.

      11.    In September 2011, a M CSO em ployee observed DO R filling out imm igration

      applicationson acomputeratthejail'sIntake Center. Furthermore,investigation has
      revealed thatDOR has m ade over20,000 inquires using the Florida Driver and Vehicle

      ldentification Database(CCDAVID'')system sinceDecember1,2007. lncludedin these


                                                  4
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 6 of 10




       DAVID queries were individuals for whom DOR filed I-360s. On the basis of m y

      kaining and experience,Iknow thatitishighly unusualforany 1aw enforcem entofficer

      to have m adethatm any DAV ID inquiriesovera sim ilarperiod oftim e.

       12.   On Septem ber 18.2011,DO R wasstopped atFt. Lauderdale Intem ationalAip ort

      en route to Haiti. A bordersearch ofDOR revealed thathe wastraveling with alaptop
      and a computer thum b drive. On Septem ber 26,20 11, a federal search warrant was

      obtained for the computer and thum b drive. Forensic exam ination of the com puter

      and/or thum b drive revealed, among other things, the following imm igration-related

      docum ents:

         a. A letter pum orting to be from a M s.Iphonia Sim ilien to CIS, stating that M s.

             Sim ilien had misspelled hernam e on an application and was therefore subm itting

             a new 1-360 application petition. The letterrequested thatCIS disregard herprior

             1-360 application and m aila Notice of Receipt,the 1-797C fonn, to her atP.O .

             Box 420551 Sum merland Key,Florida 33042.

         b. M any blank downloaded CIS form s,as wellas a documentthatappeared to be a

             fraudulenttemplateletterpurportedly from CIS.

         c. A letterpup orting to be from CIS to a M s. Roselene Saturne requesting evidence

             in supportofhercase. n e letterwas sentto P.O .Box 420551 Sum m erland Key,
             Florida,33042.CIS hasconfrm ed thatthey did notprepare orgeneratethisletter.

         d. Tw o lettersthatappearto be draftsofcom m unications pum ortedly from CIS to a

             M r.CarlosA .AguilarRam irez,notifying him thathisform 1-360 application was

             under consideration. CIS hasconfrm ed thatitdrafted no such correspondence to

             M r.AguilarRam irez.
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 7 of 10




            A scanned faxed copy ofa ClS form 1-797 Notice ofReceiptfor a M r.W oodson

            Benjamin. The documentwas addressed to P.O.Box 122 Key W est,Florida
            33041, w hich is rented by W illiam DOR. The top of the Fax lists $çM CSO

            Records 07/28/2011 09:36.99 On the basis of my training and experience and

            observationsin thiscase,Ibelieve thatthistim e and date stam p retlectsreceiptof

            the faxed docum entatthe M CSO ,where DOR worked.

            A public policy joumal article regarding the rights available to victims of
            dom estic violence.

         g. A docum ent, which appeared to be a ledger, stating, t:DEPARTM EN TS OF

            HOM ELAND SECU RITY PREPARED BY W ILLIA M DO R D ON E UNDER

            M Y HAN D 17th D AY OF M ARCH A.D 2007.99 The documenthad columns for

            application type, form num ber,m ailing address, and zip code. It included a

            m ailing addressforCIS.

         h. A docum ent, w hich appeared to be a ledger, stating, CCLIST OF D M V

            A CCEPTED FORM S 1-360 D ON E U NDER M Y HAN D ON 19th DA Y OF

            SEPTEM BER A .D 2007 PREPARING BY W ILLIAM D OR.'' The document

            contained infonnation regarding Florida Departm ent of Highw ay Safety and

            M otorVehicle officesin variousFlorida locations.

         i. A documentfrom theFloridaDepartmentofHighway Safel and M otorVehicles
            listing acceptable docum ents for proofoflegalpresence in the United States and

           1-94 classifications.




                                              6
t
'
.



    Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 8 of 10




             14' On Octo% r31,201lYourAE antl'u-ed thatDOR wa$holding an airlineticket
             œ depm for Haitien Novembef 3,20!1. On November 2, 2011 he cgncelled hse
             reservgtiocgndatpreRnt,hiaR turetravelpl:ns,ifany,gr:unG own.

                                        CONCLUSI.
                                                ON
             15.      Forthe foregoing re- m ,Isubmittlmtthere isprobablz caugeto believe th t

             ID R hag violated Titl: 12, Unittd State: Cûde. Stction 154640, in th t he ha:
             knowingly poqsesged documentsthatarepregcribe by *tatute agevidenceofâuthorim.!'l
             m y intheUnited States,knowing thatguch dœ umentahad been forge ,countcrfeite;
             zltere ,an4 falselymi e.

                                              FURTHF.R AFFIANT SAYETH N AUGHT

                                                             *

                                              1      ull:r,SpedalAgeat
                                              lmmigauonândCustom:Enfomement

              Swom to N foo me thi:     A y ofNovvm ber.2011.

              .
                    zx ..w . -   g ,X oue.p
              L RANA S.SN OW
              UNITED STATES M AGISTRATE JUDGE




                                                     7
Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 9 of 10




                           UM TED STATES DISTRICT CO UR T
                           SO UTH ERN DISTRICT OF FLO RIDA

                                     No,//-X
                                          - 4J7
                                             . -
   U NITED STATES OF AM ER ICA

   V.

   W ILLIAM DO R,

                      Defendant.
                                                /

                                CRIM INAL COVER SHEET

   1.   D idthism atteroriginatefrom a m atterpending in the Northem Region oftheUnited States
        Attorney'sOftk epriorto October 14,2003?              Yes    X No

        Didthism atteroriginate from am atterpending in the CentalRegion ofthe United States
        Attonley'sOffice priorto September 1,20077            Yes X No


                                           Respect/ lly subm itted,

                                           W IFREDO A .FEIG ER
                                           IJN ITED STATES AW ORNEY

                                                                      %



                                    BY :                                  '
                                           A llyson F 'z
                                           AssistantUnited StatesAtt y
                                           Florida CourtN o. A5500092
                                           99N .E.41 Street
                                           M iami,Florida 33132-2111
                                           TEL (305)961-9287
                                           FAX (305)536-4675
 Case 4:11-mj-05027-LSS Document 1 Entered on FLSD Docket 11/03/2011 Page 10 of 10




                          UNITED STATES DISTRICT CO URT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASENUMBER: //-> &> 7-N
                                  BOND RECOM M ENDATIO-N



DEFENDANT:WILLIAM POR
              $100,000CorporateSuretyBondwithNebbia.
             (PersonalSurety)(CorporateSmety)(Cash)(Pre-rfrialDetention)
                                                                                 :'
                                                                                 .

                                                                             <




                                             By:
                                                    AUSA:      Ilyson Frit




LastKnow n Address:




W hatFacility:




Agentts):           S/A Je#rey Muller,pHS
                   (FB1) (SECM T SERVICE) (DEA) (IRS) (lCE) (OTHER)
